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IN THE UNTIED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK (Manhattan)

UNITED STATES OF AMERICA, ex re/
Mr. and Mrs. SCHIANO,

PLAINTIFFS and Relators,

: | FILED UNDER SEAL

WELLS FARGO & COMPANY, WELLS

FARGO BANK NA and WELLS FARGO HOME MORTGAGE,
and OCWEN FINANCIAL CORPORATION, OCWEN

LOAN SERVICING, LLC and OCWEN MORTGAGE
SERVICING, INC.,

DEFENDANTS,

 

COMPLAINT AND JURY DEMAND

Plaintiffs, SCHIANOS, as the Originating RELATORS, pursuant to the False
Claims Act, 37 USC Section 3729, et seq., as private persons acting for the people of the
United States and the United States Government, through his attorney’s, Mahany and Ertl
and Joseph C Bird, declare and allege the following as their FALSE CLAIMS
COMPLAINT against the Defendants for civil damages [trebled] and penalties for the
Defendant’s submission of false and fraudulent records, claims, statements and
representations of defaulted mortgage loans held by FREDDIE MAC which is now the
United States Government as administered by and pursuant to the FEDERAL HOUSING
FINANCE AGENCY (FHFA). All the loans that are the subject of this complaint and

owned or insured by FREDDIE MAC and are/were insured by third parties in case of
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default. The Defendants defrauded the government by initially fraudulently converting
and diverting monies that were/are due FREDDIE MAC as the loan owner/holder or
insurer/guarantor in anticipation of a refinancing of the original loan being serviced, then
the Defendants further defrauded the — by falsely declaring the loans they
serviced to be in default when in fact they had diverted the payments to themselves in
order to declare and demonstrate a “default” to the government and provide a basis for an
insurance payout of the loan at roughly 80% of its principal balance.

FREDDIE MAC declared defaults based on the payments diverted by the
servicing agents, including specifically WELLS FARGO and OCWEN, and the loans
about to be refinanced were paid off by insurers like GE or GENWORTH FINANCIAL
to FREDDIE MAC at $.80 on the dollar. The Defendants then converted the loan payoff
that should have been paid to FREDDIE MAC instead of insurance and assisted in the
collection of the refinanced and fraudulently paid off mortgage loan from the borrower
(or maintained it on their books and records as a cover up of the fraud), recovering 100%
of the value of the loan times two. The net effect of the conspiracy was to allow the
servicers for the investors (WELLS FARGO and OCWEN in this specific case), to
defraud FREDDIE MAC by converting mortgage payments that should have been paid to
FREDDIE MAC, and upon the mortgage insurance payment, convert the original loan
payoff from the refinancing, all to the financial detriment of the United States by the

Defendants, who conspired to share the proceeds of their fraud amongst themselves.
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I.

INTRODUCTION

This is a civil fraud action filed on behalf of the United States of America to
recover treble damages and civil penalties under the False Claims Act arising
from fraud on the United States and specifically against FREDDIE MAC, a
Government Service Enterprise [GSE], now operated by the United States of
America by the FHPA. As set forth more fully below, WELLS FARGO and
OCWEN have profited for years as residential mortgage servicers through
their dealings with FREDDIE MAC, by falsely reporting defaults of insured
loans to FREDDIE MAC which were in fact simply being refinanced, and
then collecting the mortgage payoff and the payments that would have kept
the loan current in order to create the false default.

During the course of their dealings with FREDDIE MAC, WELLS FARGO
and OCWEN learned that FREDDIE MAC had insurance for the loans it
purchased in the event of default by the borrower. WELLS and OCWEN also
learned that when borrowers refinanced existing mortgage loans, they could,
by fraud, keep the payoff check intended for FREDDIE MAC when
refinancing was successful and have it sent to them instead, upon the closing
of the new mortgage loan, by declaring the original mortgage to be in default
to FREDDIE MAC, the rightful recipient of the payoff check. If the default
prevented the refinancing from taking place, OCWEN or WELLS FARGO
would continue to collect on the mortgage note from the defaulted borrower,
as FREDDIE MAC had signed off and closed the loan once it was paid by

insurance.
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This “FALSE DEFAULT” scheme allowed WELLS FARGO and OCWEN

(THE MORTGAGE SERVICING AGENTS) to obtain, and continue to obtain

through false defaults and refinancing payoff or failed refinancing and

 

continued collection, monies to which they were not entitled at the expense of
FREDDIE MAC. |

Plaintiff is the United States of America (“United States”). SCHIANOS are
the RELATORS acting on behalf of the United States by filing this complaint.
The Schianos are residents of the State of New Jersey.

Defendant WELLS FARGO & COMPANY, also d/b/a WELLS FARGO
HOME MORTGAGE AND WELLS FARGO BANK, N.A., [hereinafter
WELLS] is a corporate entity organized pursuant to the law of the State of
Delaware and at all times acted as in investor or note holder in the above false
default conspiracy scheme. WELLS FARGO is/and was both a mortgage bank
and a mortgage servicing agent which has and continues to act as a servicing
agent for FREDDIE MAC,

At all times relevant to this complaint, OCWEN FINANCIAL
CORPORATION, OCWEN LOAN SERVICING LLC and OCWEN
MORTGAGE SERVICING INC., is a corporate entity organized pursuant to
the law of the State of Delaware and at all times acted as in investor or note
holder in the above false default conspiracy scheme. OCWEN is/and was both
a mortgage bank and a mortgage servicing agent which has and continues to

act as a servicing agent for FREDDIE MAC
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7. The department of Housing and Urban Development [HUD] is a cabinet
department of the executive branch of the United States Government created
in 1965 to administer the government’s involvement in the mortgage industry
including FHA mortgage insurance. The Federal Housing Administration is a
separate agency, created in 1937 by Congress, to provide insurance on
mortgage loans in order to encourage lenders to make mortgage loans.
FREDDIE MAC was created by Congress in 1970 to stabilize and stimulate
the home mortgage industry. As a GSE providing a secondary market for
mortgage loans thereby facilitating lenders to make mortgage loans,
FREDDIE MAC obtained insurance for all loans that it acquired, enabling it
to support riskier loans that lenders would not otherwise make to borrowers.

8. FREDDIE MAC was taken over by the US Government circa 2008 pursuant
to HERA, Public Law 110-289 [Conservatorship managed by the Federal
Housing Finance Agency] as a result of severe losses suffered from defaulting
loans that it purchase from lenders and servicers including WELLS and
OCWEN. It is still engaged in the mortgage industry by facilitating the
establishment of a market of the purchase and sale of mortgage loans and is
actively involved in buying and selling mortgage loans brokered and
originated by other entities and lenders. In this role, it is one of the largest
holders of promissory notes secured by mortgages in the United States. The
existence of insurance against loan default [implicit if not explicit] for loans
held by FREDDIE MAC allows it to support HUD, FHA and VA initiatives to

provide affordable housing in the United States.
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FACTUAL HISTORY OF SCHIANO MORTGAGES
The Schianos’ purchased their home in 1987. Through a series of mergers and
transactions, Bank of America became their mortgagor and note holder. In the
year 2000, WELLS became the mortgage servicing agent for the Schianos’
and Bank of America. Since the date of purchase through the date of filing the
complaint, they have never been late or delinquent as to any mortgage
payment.
Commencing in 2002, the SCHIANOS refinanced their existing mortgage,
which was then owned by GE Capital Mortgage Services, the acting
mortgagee or note holder, which was acquired by Bank of America
Corporation in approximately 1995. GE mortgage servicing, however, was
separated from GE Capital Mortgage Services and was sold to WELLS in the
year 2000.
FREDDIE MAC was the original government investor/insurer on the
Schianos refinanced loan. The Schianos were not aware, however, that
FREDDIE MAC was the investor on their GE backed loan (investor/insurer),
held by Bank of America and serviced by WELLS.
Just prior to the Schianos planned February 2002 refinance, which would
normally cause the new lender to pay off the existing loan backed or insured
by FREDDIE MAC, WELLS reported the Schianos in default to FREDDIE
MAC, in its role as investor/insurer of the loan, despite fact that the Schianos

had never missed a mortgage payment.
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At the February 2002 refinance, the payoff check was diverted by WELLS
from its rightful recipient, FREDDIE MAC, to an unknown entity. See
Exhibit 1

A claim or mortgage insurance was then made by FREDDIE MAC, the
government backed GSE investor/insurer, with GE or Genworth Financial,
and the insurance was collected on the false default by FREDDIE MAC in the
estimated amount of 80% of the principal balance.

WELLS collected the full amount of the loan payoff from the refinancing.
Since the year 2002, the Schianos have made a series of continuing mortgage
payments to their loan servicers, including both WELLS and then OC WEN,
the successor loan servicing agent for the original Bank of America loan,
based on demands by the servicers despite the refinance and purported payoff
of the loan, unaware of the false default reported to FREDDIE MAC,

The Schianos were unaware of the fraud perpetrated against them and
FREDDIE MAC until April 2011 when they received a letter from the
OFFICE OF THE COMPTROLLER OF THE CURRENCY (OCC) informing
the Schianos of the 2002 FREDDIE MAC announcement that their loan, held
by FREDDIE MAC was declared to be in default by FREDDIE MAC and
paid out [insurance claim paid] by GE or GENWORTH in its capacity as the
insurer to FREDDIE MAC to cover its guarantee of payment. See Exhibit 2
The false default reported by WELLS FARGO originally had caused
FREDDIE MAC to seek immediate recovery from its insurer [GE or

Genworth] at roughly 80% of the loan value and at the same time WELLS
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negotiated the payoff check from the new lender paying off the balance of the
loan IN FULL, a payment that should have been paid over to FREDDIE MAC
as the insurer/investor.

WELLS kept the money that was owed to and should have been paid to
FREDDIE MAC, depriving FREDDIE MAC of at least 20% of the payoff
amount or about $35,000.00 and causing FREDDIE MAC to make a false and
fraudulent claim to GE.

The Schianos refinanced twice in 2004 with both Fremont Home Loan in
February, 2004 and again through Argent Mortgage Company (a broker) in
October, 2004. See Exhibit 3 (payoff of Fremont Loan) Ultimately, the
Fremont loan was sold and transferred into a securitized trust, Fremont Home
Loan Trust 2004-B. The Argent loan was also sold into a securitized trust,
Park Place Securities Inc., 2004-WHQ2. WELLS is the Master Servicing
Agent for both the securitized trust 2004-B and the trustee for 2004-WHQ2.
OCWEN denies that it is currently “servicing” for Fremont as to the Schiano
loan, but maintains it is “collecting” the monthly mortgage payments from the
Schianos for the FREDDIE MAC REMIC 2859. See Exhibit 4 Since
FREDDIE MAC avers it is not the investor of this loan, it appears that
OCWEN is collecting pursuant to a “false default” claim and scheme as to the
Schiano note.

In the course of litigating the issue of the validity of their mortgage, and other
related issues, Schiano v. MBNA/Bank of America Corporation, et al, case no.

05-cv-1771 (D.C.N.J.), the SCHIANOS have leamed that WELLS and
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OCWEN have employed this false default scheme to obtain the payoff
amounts, and future collection of interest, taking advantage of FREDDIE
MAC’s reliance on their good faith and inability to verify the default and by
removing any motivation by FREDDIE MAC to investigate by virtue of
FREDDIE MAC’s known ability to exercise its insurance rights to obtain
payment. Both servicing agents profit on the diverted payments converted
before the refinancing closing (if successful), collect the proceeds of the
payoff (if refinancing is successful) and collect the remaining defaulted
mortgage through reinstatement, foreclosure or other means, including
recycling the mortgage through the GSE system again, selling it to both
FANNIE or FREDDIE, now owned by FHFA, or other investors.

In the course of the litigation, the Schianos’ have learned that the second 2004
loan refinance through Argent was reported by OCWEN as a “loan
modification". The apparent purpose for falsely reporting or characterizing the
refinance as a “loan modification” to various credit reporting agencies and in
interstate commerce is to cover up the fact that the Fremont loan was replaced
and paid off so that OCWEN and WELLS could continue to fraudulently

collect monthly payments on a loan that had been paid off.

24. In furtherance of this fraud, WELLS received the attached check for the pay-

off of the Fremont mortgage note. See Exhibit 3. The routing number on the
check relates to a WELLS account at a branch in Arizona. The bank refused to
reveal the identity of the account holder that received credit for the check. The

cancelled check is oddly stamped “VOID” and the payee, Fremont Home
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Loan Trust 2004-B has no record of receiving any check or pay-off in this
amount.

In order to verify and restructure their mortgage debt, the Schianos applied to
WELLS to refinance their existing mnextewe on two separate occasions in
2013. Each time they received a mortgage commitment rom WELLS, but
WELLS ultimately refused to refinance and issue a new mortgage claiming
that the mortgage history and assignments and transfers had created an
“invalid mortgage”, precluding refinancing. See Exhibit 5

WELLS and OCWEN carefully calculated that when FREDDIE MAC held
the note, that it was insured and that FREDDIE MAC would not attempt to
independently verify the default with the maker, or servicer, of the loan or the
home owner and mortgagor, as would non GSE lenders and note holders like
themselves.

WELLS and OCWEN also carefully calculated that FREDDIE MAC would
be satisfied with the insurance proceeds from a defaulted loan at 80% of value
and that when the existing loan was paid off, they would receive the proceeds
or payoff from the new lender even though they had sold the note to
FREDDIE MAC because they were identified in the records of title as the
mortgage owner and servicing agent and the transfer of the note for value to
FREDDIE MAC was not recorded anywhere.

On a calculated but systematic basis, WELLS and OCWEN have and continue
to prey on FREDDIE MAC and the United States by falsely asserting that

loans which were in the process of being refinanced were in default, causing

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FREDDIE MAC to seek payment from its insurer and allowing WELLS, and
OCWEN to receive the payoff amount, and continue to collect false default
interest, creating a double recovery of the loan amount based on fraud, with
continued collection of diverted and converted funds that are due FREDDIE
MAC.

The impact of the fraud perpetrated by WELLS and OCWEN continues today,
including after the year 2008 when FREDDIE MAC was placed in
government agency conservatorship or takeover. The effect of the fraud
includes a double recovery by WELLS and OCWEN, including the loss of the
difference between the amount paid by insurance and the actual loan payoff,
and including continued collection of false default debt that has been
purposefully and intentionally been diverted by WELLS and OCWEN from
FREDDIE MAC.

These mechanisms of fraud perpetrated by WELLS and OCWEN were
directly observed by the SCHIANOS and their counsel, Helen E. Cooney
Mueller, during the course of their litigation, and from other original and

unique information they received pertaining to the SCHIANOS’ mortgage.

JURISDICTION AND VENUE
This Complaint is submitted pursuant to 37 USC Section 3729. This court has
subject matter jurisdiction pursuant to 28 USC Section 1331 and in particular

pursuant to 28 USC Section 3730 (b).

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Under 31 USC Section 3730 (e), there has been no relevant public disclosure
of the allegations in this complaint with respect to which the SCHIANOS are
an original source and all material information relevant to these allegations
was provided to the US Government prior to the filing of this complaint in
accordance with 31 USC Section 3730 (e) (4)(B).
Personal jurisdiction and venue exist pursuant to 28 USC Section 1391 (b) and
31 USC Section 3732 (a) which authorize nationwide service of process upon
entities and individuals having minimum contacts with the United States.
Moreover, the Defendants can be found in, transact business in [or have
transacted business in] the Southern District of New York.

MORTGAGE SERVICING FOR FREDDIE MAC
Both OCWEN and WELLS, at all times pertinent to this action, provided and
continue to provide mortgage servicing to FREDDIE MAC pursuant to the
agency Mortgage Servicing Guide and applicable regulations.
The Guide, as amended, contains 83 Chapters setting forth the duties and
obligations of OCWEN and WELLS as to reporting and remittance of
mortgage payments collected by OCWEN and WELLS for FREDDIE MAC.
The actual servicing contracts between WELLS, OCWEN and FREDDIE
MAC incorporate by reference all of the duties and obligations set forth in the
Guide including the duty to property remit to FREDDIE MAC and the duty to
accurately and truthfully report changes in conditions of the mortgage note or
the mortgagor’s status to FREDDIE MAC. See, generally, Contract, Chapter

2, Failure to comply with Contract or Guide.

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37. WELLS and OCWEN had a duty to remit all monthly payments received to

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FREDDIE MAC, including those received after reporting a default to
FREDDIE MAC, those received after an insurance pay off to FREDDIE MAC
and the proceeds of any refinance to the extent the proceeds exceeded any
insurance payment.
WELLS and OCWEN also had a duty pursuant to contract and the Guide to
not fraudulently report or declare a default of a loan to induce FREDDIE
MAC to make an insurance claim and discharge or relinquish the loan being
serviced and allow OCWEN and WELLS to recover the entire balance of the
loan through a refinance of the loan by using its position as servicer.
OCWEN and WELLS breached their respective servicing contracts and the
Guide by falsely declaring defaults, retaining monthly payments and not
remitting FREDDIE MAC’s share, by continuing to collect on loans that
FREDDIE MAC received a partial payoff through an insurance claim and by
collecting and receiving the payoff of a refinanced mortgage without remitting
to FREDDIE MAC.

FRAUD ALLEGATIONS
WELLS FARGO AND OCWEN are and were, at all relevant times, lending
institutions and mortgage servicing companies under the federal regulations
implementing HUD’s single family mortgage insurance programs. WELLS
sold and/or serviced many of its loans for FREDDIE MAC. OCWEN, as

SCHIANOS current servicer, continues to collect the false FREDDIE MAC

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default loan with pass through of false default loan collection interest to
WELLS.

WELLS FARGO AND OCWEN provided or serviced mortgage loans to
borrowers.

WELLS FARGO AND OC WEN — to conduct their business pursuant to
all applicable regulations and by law was prohibited from certifying to
FREDDIE MAC or any GSE or other government agency any claim of fact

that was false or misleading.

_WELLS and OCWEN, as to the relators, starting in 2001, knowingly failed to

pay over mortgage loan payments received from borrowers on loans owned by
FREDDIE MAC in order to create a basis, albeit fraudulent, to declare a
default by the borrower.

WELLS and OCWEN kept the mortgage payments and payoffs made by
relators in violation and breach of the servicing agreements.

WELLS and OCWEN then falsely and fraudulently certified to FREDDIE
MAC that Plaintiffs were in default and knew that this would cause FREDDIE
MAC to turn to its insurer and demand payment of the principal loan balance.
FREDDIE MAC was reimbursed for the falsely certified loan default by
GENWORTH or GE.

As set forth above, WELLS FARGO was originally paid funds due FREDDIE
MAC upon closing of the Plaintiffs refinancing mortgage loan in early 2002

and was paid the sum of $176, 269.22. See Exhibit 1.

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WELLS FARGO failed to remit payoff funds from the closing refinance to
FREDDIE MAC, and FREDDIE MAC failed to receive the full amount of the
loan it had purchase from WELLS since the insurance was not a 100%
payment.
Plaintiffs allege and aver that the scheme used by WELLS as to their loan
with FREDDIE MAC was not a onetime occurrence. Rather, it is part of a
carefully orchestrated plan to profit at the expense of FREDDIE MAC and the
United States of America.
WELLS and OCWEN, who fraudulently continue to collect payments as part
of the cover up on the false FREDDIE MAC defaulted loan, intentionally
deceived FREDDIE MAC in order to double dip or receive payment for
mortgage loans on the initial sale to FREDDIE MAC and again by converting
the payoff on loans refinanced while being held by FREDDIE MAC, profiting
unfairly by the deception and also depriving FREDDIE MAC of the
uncovered portion of the defaulted loan, and continued collection of the loan
and recycling of those defaulted loans, thus forcing the government to pay the
insurance claims on all loans insured by the United States or otherwise paid
by the United States and depriving the government, U.S. taxpayers, of the
continued collection of SCHIANO interest paid on a false FREDDIE MAC
default loan.

COUNT I

VIOLATION OF 37 USC, Section 3729 a (1) (B), (D) and (G)

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By virtue of the acts described above, and in violation of 31 USC Section
3729 (a)(1)(A), (D) and (G), as for each and every declaration of default
falsely created by WELLS and OCWEN and falsely reported to FREDDIE
MAC, WELLS and OCWEN knowingly made, used or caused to be made or
used, false records or statements mata to a false or fraudulent claim for
payment by the United States or to induce the submission of a false claim by
the United States [Freddie Mac] to a third party.

The conduct is also a violation of 31 USC Section 3729 (a) (7), as an indirect
reverse false claim. WELLS and OCWEN continue to profit at the expense of
the United States taxpayers by continued collection of interest on the false and
fraudulent default FREDDIE MAC loan.

FREDDIE MAC, in turn, declared defaults and submitted insurance claims
based on those false defaults and also abandoned any claim to any loan payoff
proceeds, and collection of future interest, on loans that it owned.

The Government, through FREDDIE MAC, sustained the loss of mortgage
loans payments withheld and retained by WELLS and OCWEN in order to
create the false default and also suffered the loss of the uncovered portion of
the falsely defaulted loan upon submission to and payment by its insurer, in
most cases the United States, and the government continues to be deprived of
the collection of false default loan interest due FREDDIE MAC.

As a further direct and proximate result, the Government directly suffered the
loss of the wrongfully paid insurance claim on each and every FREDDIE

MAC loan that it insured, and continues to directly suffer the deprivation and

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loss of all paying interest loans that, unbeknownst to the borrower(s) and
FREDDIE MAC, were falsely placed in default and the collection of interest
payments are currently owed to FREDDIE MAC.

Pursuant to the FCA, 31 USC Section 3729 (a) (1) (B), (D) and (G), WELLS
and OCWEN are liable to the United States under the treble damage and civil
penalty provisions for a civil penalty of not less than $5,500 and not more
than $11,000 for each and every fraudulent claim plus three times the amount
of actual and continued damages which the United States has sustained by

virtue of the Defendants actions.

COUNT II
FALSE DEFAULT CERTIFICATION TO FREDDIE MAC AND
VIOLATION OF FERA AND 31 USC 3729 (a) (7)
BY REVERSE FALSE CLAIM

By virtue of the acts described above, and in violation of 31 USC Section
3729 (a)(1)(B) and (a) (7), as for each and every declaration of default falsely
created by WELLS and OCWEN and falsely reported and certified to
FREDDIE MAC and also knowingly made, used or caused to be made or
used, false records or statements material to a false or fraudulent certifications
for default on mortgage loans held by FREDDIE MAC and the United States,

resulting in depriving FREDDIE MAC of the proceeds of insured defaulted

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loans and of monthly mortgage payments diverted in order to cover up the
false default declaration.

As a result of submitting innumerable false certifications of FREDDIE MAC
loan defaults, and the diversion of monthly mortgage payments to create the
false default, both in violation of their reporting and servicing obligations to
FREDDIE MAC pursuant to the various servicing agreements, WELLS and
OCWEN are liable to the United States for all losses on mortgage loans it paid
as in insurer to FREDDIE MAC or where FREDDIE MAC received less than
the payoff amount on the existing loan and for all diverted monthly mortgage
payments retained by WELLS and OCWEN which were a cover-up for the
false default (i.e. used to make it appear an actual default existed).

Moreover, as a direct and proximate result of the false loan default
certifications to FREDDIE MAC all in violation of 31 USC Section 3729 (a)
(7), WELLS and OCWEN are liable to the United States under the treble
damage and civil penalty provisions of the FCA of not less than $5,500 and
not more than $11,000 for each false or fraudulent certification of a default
plus three times the amount of the actual and continued loss sustained by the

United States.

WHEREFORE, the relator, on behalf of the United States, prays:

a.

That the court award the maximum amount of damages and civil penalties

supported by the facts and the claims and allowed under the Act including the

maximum award as a relator;

The realtor be awarded costs and actual attorney’s fees;

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c. The court awards such other relief as is appropriate.

 

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Respectfully submitted on this / day of September, 2014 yz
By: Jul
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JURY DEMAND

Relators demand a trial by jury.

tL
Respectfully submitted on this / g day of September, 2014. ”
By: Li. : =
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